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                                UNITED STATES DISTRICT COURT 


                               NORTHERN DISTRICT OF GEORG IA 


                                      ATLANTA DIVISION

                                                                1:17 - CV-3 083
GREGORY ACKERS                                                          CASE#_ _ _ _ __

       Principal Plaintiff                                              FRAUD

       V.                                                               RACKETEERING

DONNA BRAZILE                                                           NEGLIGENCE

CABLE NEWS NETWORK                                                      BREACH OF FIDUCIARY

HILLARY ROD HAM CLINTON                                                 UNJUST ENRICHMENT

DEMOCRATIC SERVICES CORPORATION                                         BREACH OF CONTRACT

       d/b/a                                                           JURY TRIAL DEMAND

DEMOCRATIC NATIONAL COMMITIEE

JENNIFER PALMIERI

JOHN PODESTA

DEBORAH WASSERMAN SCHULTZ

TIME WARNER INCORPORATED

TURNER BROADCASTING SYSTEM INCORPORATED

TURNER SERVICES INCORPORATED

       Defendant(s)




       On the dates of March 5 & March 12th,2016, DONNA BRAZILE,in acting as "on-air political
analyst" for CABLE NEWS NETWORK,did pass debate questions for upcoming Presidential debates in
advance of televised events. This act was perpetrated utilizing electronic mail & telecommunications,to
2016 Presidential candidate HILLARY RODHAM CLINTON. Mrs. Clinton was the entitled recipient of this

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activity,which was perpetrated by wire, to her Director of Communications JENNIFER PALMIERI. Clinton
was scheduled to debate Senator Bernie Sanders for the Democratic pty nomination as 2016
Presidential candidate. Included within this scheme were the DEMOCRATIC NATIONAL COMMITTEE,
Clinton Campaign Director JOHN PODESTA & DNC Chairperson DEBORAH WASSERMAN SCHULT2.




                                           JURISDICTION/VENUE

        The following is a civil complaint to be filed within this District as a diversity case,in conjunction
with the variety of separate Districts inhabited by the Pltf & Dfts in re; 28 USC 1332 & 1391. In re; 28
USC 1332,this lawsuit involves Pltfs & Dfts who are citizens of various states. In re; 28 USC 1391, this
District is the proper VENUE because the case is both local & transitory. The District retains specific
SUBJECT MATTER JURISDICTION due to the fact that the civil & criminal violations committed by Dfts
were "brainstormed" & commissioned in Atlanta,Ga.



                                              THE PARTIES

        GREGORY ACKERS is the Principal Plaintiff in this civil lawsuit. Mr. Ackers is an American citizen
who's voted in 6 Presidential elections. He resides in Los Angeles,Ca.

        Dft. CABLE NEWS NETWORK is a Georgia Foreign Profit Corporation H.Q.'d @ 1 CNN
Center,Atlanta,Georgia 30303

        Dft. DONNA BRAZILE was employed by Dft CABLE NEWS NETWORK @ the time of the civilly
liable activitys. She acted as the proponent of all stated violations. Her business address is 1001 G St.
NW 11500E Wash D.C. 20001

        Dft. HILLARY RODHAM CLiNliON was the 2016 Democratic Presidential candidate. She resides @
15 Old House Lane Chappaqua N.Y. 10514

        Dft. DEMOCRATIC NATIONAL COMMITTEE is HQ'd @ 430 S. Capitol St. SE Wash D.C. 20003

       Dft. JENNIFER PALMIERI acted as Dft Clintons Director of Communications. She resides @ 1818
Abingdon Alexandria,Va 22314

        Dft. JOHN PODESTA was Campaign Manager for the Hillary Clinton Presidential campaign. His
address is 1001 G St. NW Suite 1000W Wash D.C. 20001

        Dft. DEBBIE WASSERMAN SCHULT2 was the Chairperson of Dft DNC. Her office is @ 1114
Longworth H.O.B. Wash D.C. 20515

        DFT TIME WARNER INC. is a multi-media conglomerate H.Q.'d in New York & incorporated to do
business in Georgia . TIME WARNER acts as the parent company of DFTs TURNER BROADCASTING
SYSTEM,TURNER SERVICES INC. & CABLE NEWS NETWORK.

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        DFTTURNER BROADCASTING SYSTEM INCORPORATED is a-wholly owned subsidiary of TIME
WARNER inc. & is duly incorporated & H.U.'d' in Atlanta,Ga. Dft CNN is among its portfolio.

        DFT TURNER SERVICES INCORPORATED is a duly owned corporation doing business in Georgia.



                                            THE CASE

        On the 5th & 12th days of March,2016, afore-named Committee & the corresponding persons
therein,did covertly & FRAUDULENTLY trade & transmit debate questions for a 'Democratic Party debate
scheduled to be staged & broadcast on the CABLE NEWS NETWORK on March 13th,2016.The debate
questions were transferred from Dft Donna Brazile's e-mail account to that of the Clinton campaigns'
Director of Communications,Dft JENNIFER PALMIERI. Aforementioned Presidential debate was
scheduled to be broadcast by Dft CNN upon the day of March 13. Dft Brazile perpetrated aforesaid
activity covertly & in violation of contractual rules governing Democratic pty Presidential debates. This
activity was commissioned in alliance with all other Dfts to be named in this civil lawsuit. These actions
were in violation of the CONTRACTUAL rights of the debators' opponent,as well as the CONTRACTUAL
rights of the registered primary voters. Dfts did violate the CHARTER & BYLAWS OF THE DEMOCRATIC
PARTY in re; Article S,Section 4,which states "in the conduct & management of affairs of the DNC,the
Chairperson (Dft Debbie Wasserman, Schultz) shall exercise an Impartiality & even-handedness as
between Presidential candidates & campaigns". In fact,Dft DNC & its "Chairperson",Dft Schultz, NEVER
exercised impartiality or even-handedness in this case. Dft(s) were clearly & obViously biased in favor of
candidate-Dft Clinton. Aforementioned deception was promulgated alongside Dfts Brazile &
CNN,which,in essence, has acted as the De-Facto publicity arm of Dft Clintons Presidential campaign. Pltf
wishes to call the Districts attention to a DNC "memo" dated May 26,2015. In the memo,stipulationwas
made to "work through the DNC to utilize reporters". Pltf represents to the District that all causes of
actioll within this civil lawsuit were perpetrated by Dfts INTENTIONALLY,WILLFULLY,WANTONLY &
MALICIOUSLY. In addition,Dfts did engage through utilization of thoroughly incompetent & misguided
NEGLIGENCE. In the most obvious sense of the term "collusion",all Dfts maintained a special & ominous
relationship with each other. DFT John Podesta collaborated in the activities as Clinton campaign
mgr,while having associated with the Dfts in plotting to defraud the debate. In an Oct ,2016 issue of
TIME magazine,Dft Brazile chronicled her above-mentioned liablility. The Time Magazine article written
by Oft Brazile iS,indeed, CONTRACTUAL & cements her liability for afore-named delinquency. Dft
Schultz was relieved (fired) from her position as Chairperson of Dft DNC in July of 2016 exactly for the
actions represented in this complaint. Dfts BREACHED the duties they owed the voters registered by Dft
DNe. Within the reasonably due care & caution not-withstanding Americas hard won voting rights & the
ongoing battle against Election Fraud,Pltfs intend to work with the District on the sanction of justice as
a template,in this case . Pltfs mean to bring to task these afore-named enemies of Americas most
precious natural resource: Democracy.

                                                 3. 

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                                        CAUSES OF ACTION

                                             COUNT 1

                                           WIRE FRAUD

        In re; 18 USC 1343,Dfts utilized electronic mail & telephones in order to defraud cable television
subscribers to a nationally televised Presidential Debate. Although WIRE FRAUD has no actual private
cause of action,Pltf means to use this statute INJUNCTIVELY & DECLARATIVELY in order to demand
REVOCATION of Dft CNN's satellite license. In the commissioning of WIRE FRAUD,Dft CNN cannot
rightfully be accepted as a "legitimate" tele-communications,or news network. Pltf also moves to
INJUNCTIVELYenstate a forensic audit of every Dfts financial records. The WIRE FRAUD statute exists in
relation to the 2'd count of RACKETEERING,in that Dfts utilized WIRE FRAUD in relation to afore-named
ACCESS DEVICES. Pltf represents to District that Dft(s) violated Sept 71999 amendment to sections
201(b) & 203 of TELECOMMUNICATIONS ACT OF 1934 by "not acting in best interests of the public".
Clearly,Dfts DEFRAUDED CNN viewers & voters with a "rigged" Presidential pty debate.



                                            COUNT 2

                                          RACKETEERING

        In re; 18 USC 1863,Dfts did utilize an ENTERPRISE to engage in certain criminal & civilly liable
activitys;these being WIRE FRAUD (see Count 1) & INTERSTATE TRANSPORTATION OF STOLEN
PROPERTY. By televising a "fixed" debate,Dfts sanctioned the tampering of a televised debate with
"debate questions" that were misappropriated by Dfts Brazile,Palmieri,Clinton,Podesta & Schultz in
order to cheat a nationally televised Presidential Debate. A FRAUDULENT Presidential debate garnered
by telephone & e-mail,then transmitted by ACCESS DEVICE(s) amounts to "transportation of stolen
property" (SEE Count 1 WIRE FRAUD). In this case,the "enterprise" was Oft DNC & its officers, in
collusion with a political campaign & a cable news network in this most egregious sort of civil
malfeasance.



                                             COUNT 3

                                            NEGLIGENCE

        In re; 19 USC 1592,Dfts did allow a Presidential debate to become "highjacked" by a collusive
Racketeer Influenced Corrupt Organisation. There was,indeed, collusion between Dfts
Brazile,Clinton,Podesta,Wasserman-Schultz & Palmieri to signal a direct & vindictive advantage to a
Presidential candidate over her opponent,without the knowledge of registered voters or electoral
officials. The Cable News Network (Oft CNN) claims to be ignorant of aforementioned fraud,unjust
enrichment & breaching of contracts & duty. We see a distinct & NEGLIGENT inactivity in light of the
incipient deception & corruption perpetrated by the above-named political professionals.

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                                              COUNT 4

                                        BREACH OF CONTRACT

        In re; 41 USC 6503, Dft(s) enacted an egregious BREACH of required contract terms. See pg.l
CHARTER & BYLAWS OF DEMOCRATIC PTY Article 5 Section 4: "Chairperson of pty should exercise
impartiality". "Impartiality" was certainly NOT exercised in any capacity by Dfts. Dfts exercised bias &
irreparable sabotage to the coda of their politica'i pty & the registered electorate in USA by deceitfully
trading,by wire, in highjacked collaborative television debate questions. This occured in violation of
Democratic pty rules & the reasonable expectation of the implied duty of fair dealing.




                                              COUNTS

                                        UNJUST ENRICHMENT

        In re; 18 USC 1345,Dfts attempted to sway voters & television audience members by incurring
the misappropriation of a Presidential campaigners debate. By engaging thusly,Dfts would seek to curry
favor in Dft-candidate Clintons direction. The appropriated questions dealt with a recent water pollution
scandal in Michigan. Dft Clinton was passed the question,in advance, by wire & then answered with a
carefully prepared statement. The results were meant to be Democratic PlY election & then,a
subsequent National election victory.



                                              COUNT 6

                                    BREACH OF FIDUCIARY DUTY

        In re; 29 USC 1109; ,i n acting as a FIDUCIARY, Dfts did BREACH obligations & responsibilities
imposed upon FIDUCIARIES in reference to U.S. law. In accordance with the law,a FIDUCIARY acts as
trustee to a beneficiary. In this case,the beneficiary was the American voter & the viewing audience of a
cable news networks stated Presidential debate. The debate at question was expected by beneficiarys to
be unsullied & non-partisan. By fooling the beneficiarys in such an arrogantly corrupt fashion,Dfts never
behaved with obligation or responsibility. nfts meant to maintain their own beneficial status through a
fraudulent Presidential debate.



                                        PRAYER FOR DAMAGES

        Wherefore,Pltf prays for judgement in his favor as follows; to sue for,collect,receive & take into
possession all assets of aforementioned individuals & entities. These being MONETARY,
COMPENSATORY, EXCULPATORY, EXCLAMATORY,EXEMPLARY & PUNITIVE DAMAGES,as well as

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INJUNCTIVE & DECLARATIVE remedies to be decided by the District upon the day of Judgement. Pltf
prays for damages to be awarded jointlY,severally &,or,individually by all Dfts. These to be awarded with
interest, with administrative costs & all legal fees included. Pursuant to Rule 38(b) of FRCP,Pltf demands
TRIAL BY JURY for all issues pleaded herein so triable.



                                         Signed

                                                  Gregory Ackers 


                                                  August 10,2017 





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